




NO. 07-07-0501-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 11, 2008



______________________________





LARRY DONELL WILSON, SR., APPELLANT



V.



THE STATE OF TEXAS, APPELLEE



_________________________________



FROM THE DISTRICT COURT OF DONLEY COUNTY;



NO. 3423; HONORABLE JOHN T. FORBIS, JUDGE
(footnote: 1)


_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

ABATEMENT AND REMAND

Appellant, Larry Donell Wilson, Sr., filed a notice of appeal from the trial court’s order deferring adjudication of guilt for arson. &nbsp;A copy of the Trial Court’s Certification of Defendant’s Right of Appeal was filed with the notice of appeal. &nbsp;However, the form does not comply with Rule 25.2(d) of the Texas Rules of Appellate Procedure nor is it signed by Appellant as required by the Rule.
(footnote: 2)
	Consequently, we abate this appeal and remand the cause to the trial court for further proceedings. &nbsp;Upon remand, the trial court shall utilize whatever means necessary to secure a Certification of Defendant’s Right of Appeal in compliance with Rule 25.2(d).
(footnote: 3) &nbsp;Once properly executed, the certification shall be included in the clerk’s record currently due to be filed on January 31, 2008.

It is so ordered.

Per Curiam

Do not publish. 

FOOTNOTES
1:Sitting by assignment.


2:Rule 25.2(d) was amended to require that a defendant sign the certification and receive a copy. &nbsp;The amendment became effective September 1, 2007.


3:The proper form for Certification of Defendant’s Right of Appeal is contained in Appendix D of the supplement to the Texas Rules of Appellate Procedure.




